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 4                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF WASHINGTON
 5                                 AT SEATTLE
 6   UNITED STATES OF AMERICA,
 7                          Plaintiff,             NO. CR01-108R
 8   v.
 9   STEVEN C. MORELAND,                    ORDER WITHDRAWING MAY 26,
                                            2005 ORDER GRANTING IN
10                          Defendant.      PART GOVERNMENT’S MOTION
                                            FOR A PSYCHOLOGICAL EVALUA-
11                                          TION; STRIKING PROPOSED ORDER
                                            AND MOTION FOR CLARIFICATION;
12                                          AND SCHEDULING SENTENCING
                                            HEARING
13
14
15
16                                 I.   INTRODUCTION
17         This matter comes before the court on remand from the Ninth

18   Circuit of defendant Steven Moreland’s sentence, for further
19   proceedings in light of the Supreme Court’s ruling in United

20   States v. Booker, __ U.S. __, 125 S.Ct. 738 (2005). Currently
21   pending before the court are: (1) the parties’ memoranda re:
22   procedures on remand; (2) the government’s Proposed Order for
23   Psychological Evaluation, and Moreland’s objections thereto; and
24   (3) Moreland’s Motion to Clarify Order and for Protective Order
25   Re: Medical Files. Also bearing further consideration is this
26   court’s May 26, 2005 Order Granting in Part Government’s Motion

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 1   for Psychological Evaluation.
 2                                II.   BACKGROUND
 3        In August 2002, after a seven-week trial, a jury found
 4   Steven Moreland guilty of fourteen counts of conspiracy, mail
 5   fraud, wire fraud, and money laundering.
 6        In preparation for Moreland’s sentencing, the U.S. Probation
 7   Office submitted a report recommending an offense level of 43
 8   with a sentencing range of up to life imprisonment. Moreland
 9   offered a report prepared by psychologist Dr. Terri Hastings, who
10   diagnosed Moreland with shared delusional disorder. The govern-
11   ment did not seek or obtain its own expert evaluation of More-
12   land’s mental health, choosing instead to challenge the credibil-
13   ity and accuracy of Dr. Hastings’ report.
14        On August 22, 2003 this court sentenced Moreland to 292
15   months’ imprisonment. The court arrived at this sentence after
16   adopting the presentence report’s recommended 43 offense level
17   and granting defendant’s motion for a downward departure, finding
18   diminished capacity based in part on Dr. Hastings’ report.
19   Arriving ultimately at an offense level of 40, the court sen-
20   tenced Moreland to the low end of that level’s 292-to-365-month
21   range.
22        Moreland appealed his conviction and sentence. While More-
23   land’s case was pending before the Ninth Circuit, the Supreme
24   Court of the United States decided Blakely v. Washington, 124 S.
25   Ct. 2531 (2004), which called into question the status of the
26   U.S. Sentencing Guidelines. On December 15, 2004 the Ninth

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 1   Circuit granted Moreland’s motion for an order vacating his
 2   sentence, and remanded his case “for such further proceedings as
 3   the district court deems appropriate under the circumstances.”
 4   After the Ninth Circuit’s remand, the Supreme Court decided
 5   United States v. Booker, 125 S.Ct. 738 (2005), declaring the
 6   sentencing guidelines advisory. In addition, on June 1, 2005 the
 7   Ninth Circuit issued its much-anticipated en banc ruling in
 8   United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005)("Ameline
 9   III"), which set forth the procedures by which sentences on
10   appeal would be remanded to trial courts for resentencing under
11   Booker. In light of that ruling, and in response to the parties'
12   motions outlined above, the court finds and rules as follows.
13                                III.   DISCUSSION
14        Ameline III involved a direct appeal of a pre-Booker sen-
15   tence. In that case the Ninth Circuit held that
16        when [the Court of Appeals is] faced with an
          unpreserved Booker error that may have affected a
17        defendant’s substantial rights, and the record is
          insufficiently clear to conduct a complete plain error
18        analysis, a limited remand to the district court is
          appropriate for the purpose of ascertaining whether the
19        sentence imposed would have been materially different
          had the district court known that the sentencing guide-
20        lines were advisory. If the district court responds
          affirmatively, the error was prejudicial and failure to
21        notice the error would seriously affect the integrity,
          fairness and public reputation of the proceedings. The
22        original sentence will be vacated by the district
          court, and the district court will resentence the
23        defendant. If the district court responds in the nega-
          tive, the original sentence will stand, subject to
24        appellate review for reasonableness.
25   Ameline III at 1074-75.
26        While Ameline III was decided after the Ninth Circuit

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 1   remanded Moreland’s sentence for – presumably – full reconsidera-
 2   tion, the court finds that incorporating the holding of Ameline
 3   III into Moreland’s appeal is appropriate, and “the shortest, the
 4   easiest, the quickest, and the surest” way to safeguard More-
 5   land’s constitutional rights. Ameline III at 1079. Therefore, the
 6   initial issue on remand is “whether the sentence would have been
 7   different had the court known that the Guidelines were advisory”
 8   rather than mandatory. Id. at 1079.
 9        The answer to this question is twofold. First, as the court
10   has indicated before, it would not have given (and on remand will
11   not give) Moreland a sentence greater than the one he originally
12   received. At Moreland’s sentencing the court made several find-
13   ings at the government’s urging resulting in upward adjustments
14   to Moreland’s offense level. As the court found at the original
15   sentencing, however, the court again finds under Booker and the
16   newly advisory sentencing guidelines that the sentence at which
17   it initially arrived, 292 months, is “sufficient” to achieve the
18   goals of just punishment, deterrence, protection of the public,
19   rehabilitation, and the other criteria set forth in 18 U.S.C.
20   §3553(a).
21        Given this finding – that the court would not in any case
22   have sentenced Moreland to greater than the 292 months he re-
23   ceived – the court finds that a government-obtained psychological
24   evaluation is no longer necessary or relevant to the issues
25   before the court. The May 26, 2005 order authorized such evalua-
26   tion because “[u]nder a regime of the mandatory guidelines, the

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 1   government was able to calculate the cost of losing on the mental
 2   health capacity issue to a fair degree of certainty. Under the
 3   newly conceived Booker advisory regime, however, the government’s
 4   calculations are necessarily far less accurate.” May 26, 2005
 5   Order at 4. Under Ameline III’s new limited remand framework,
 6   however, the court finds that the more appropriate approach to
 7   resentencing is to represent to the government that its calcula-
 8   tions of losing on the mental health issue are as accurate now as
 9   they were on initial sentencing, thereby obviating the need for a
10   second evaluation.1
11        On the other hand, the court is also not inclined to reduce
12   Moreland’s sentence in light of the newly advisory nature of the
13   sentencing guidelines. The court, as the parties are aware, was
14   intimately involved in this defendant’s case, both throughout the
15   several years and myriad motions of his pretrial proceedings and
16   at trial itself. The court had additional opportunity to become
17   familiar with the “nature and circumstances of the offense and
18   the history and characteristics of the defendant” during his
19   sentencing proceedings. 18 U.S.C. §3553(a). It is difficult to
20
21        1
           The government also moved for a psychological exam on the
     grounds that the integrity of Dr. Hastings’ work was called into
22
     question in the course of another trial in the District of
23   Alaska. In that case, the government sought Dr. Hastings’ raw
     data on the suspicion of certain misrepresentations. To the
24   extent that the government’s motion was based on concerns about
     the integrity of Dr. Hastings’ work, the court finds that the
25   suggestion of impropriety in another, unrelated trial is
     insufficient to support authorizing a psychological evaluation in
26   this case at this time.

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 1   imagine there are reasonable arguments left that have not already
 2   been made by the defendant and considered by the court.
 3        Nevertheless, considering the constitutional gravity of the
 4   issues at hand, the court finds that erring on the side of giving
 5   Moreland a chance to reargue his sentence is the proper course
 6   under Booker and Ameline III. As Ameline III provides, “the
 7   district court is permitted to take a fresh look at the relevant
 8   facts and the Guidelines consistent with Booker, the Sentencing
 9   Reform Act of 1984, Rule 32 of the Federal Rules of Criminal
10   Procedures, and [Ameline III]”. Ameline III at 1085. Consistent
11   with this pronouncement and the findings above, a hearing on
12   Moreland’s resentencing is tentatively scheduled for 10:00 a.m.
13   September 14, 2005.
14        Several issues remain that the court finds appropriate to
15   address before sentencing. First, in his Motion Re: Procedure on
16   Remand, Moreland urges the court to reduce his sentence to the
17   level supported by the jury’s findings alone, the so-called “non-
18   Blakely” time, and to rely on certain findings of fact only to
19   move within that range. He relies in essence on the Supreme
20   Court’s recent pronouncements that the finding of facts (other
21   than a prior conviction) resulting in an enhancement of a defen-
22   dant’s sentence must be made by a jury and not by a judge. See,
23   e.g., Defendant’s Motion Re: Procedure of Remand at 2, citing
24   Blakely v. Washington, 124 S.Ct. 2531 (2004) and Apprendi v. New
25   Jersey, 530 U.S. 466 (2000). Defendant misapprehends the effect
26   of these pronouncements on his case. As Justice Breyer’s remedial

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 1   opinion in Booker makes clear, and as the Ninth Circuit noted in
 2   Ameline III, “[s]tanding alone, judicial consideration of facts
 3   and circumstance beyond those found by a jury or admitted by the
 4   defendant does not violate the Sixth Amendment right to jury
 5   trial. A constitutional infirmity arises only when extra-verdict
 6   findings are made in a mandatory      guidelines system.” Ameline III
 7   at 1077 (emphasis added); see also Booker, 125 S.Ct. at 750 (“If
 8   the Guidelines as currently written could be read as merely
 9   advisory provisions that recommended, rather than required, the
10   selection of particular sentences in response to different sets
11   of facts, their use would not implicate the Sixth Amendment.”).
12   Booker et al. simply do not require summarily voiding that
13   portion of Moreland’s sentence that exceeds the so-called non-
14   Blakely time.
15        The court further clarifies that at the hearing it will not
16   entertain proffers of evidence, new or old. Moreland asks for an
17   opportunity to relitigate certain facts, including those the
18   court found resulting in upward departures. Nothing in Ameline
19   III or Booker – in particular, its remedial opinion – indicates
20   that any more than a review of the facts as already proffered is
21   constitutionally required on remand. The Ninth Circuit studiously
22   avoids requiring the district court to hear new evidence on
23   resentencing, prescribing only that the court “take a fresh look
24   at the relevant facts.” Ameline III at 1085. Moreover, as a
25   logical matter, Moreland had every bit as much incentive to
26   establish certain mitigating facts before Booker was decided as

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 1   he does now.
 2        Instead, at issue is the weight that the parties believe
 3   should be given to the various factors this court is to consider
 4   in calculating Moreland’s sentence, including the advisory
 5   guidelines themselves and those criteria enumerated at 18 U.S.C.
 6   §3553(a). Again, the parties should bear in mind Ameline III’s
 7   clarification that “[s]tanding alone, judicial consideration of
 8   facts and circumstances beyond those found by a jury or admitted
 9   by the defendant does not violate the Sixth Amendment right to
10   jury trial.” Ameline III at 1077-78.
11        Finally, the parties are in disagreement as to what standard
12   of proof the court should employ in making findings of fact at
13   sentencing. The government posits that nothing in Blakely or
14   Booker requires ratcheting up the standard of proof. While
15   Moreland urges the court to find that Booker and its related
16   cases impose a new standard on judges’ findings of fact on
17   related conduct, he admits that “Booker did not rule on the
18   standard of proof required under the advisory Guidelines.”
19   Defendant’s Motion Re: Procedure on Remand at 19. The court thus
20   finds that absent a Ninth Circuit or Supreme Court ruling to the
21   contrary, the standard of proof for fact-finding at sentencing
22   remains unchanged: by a preponderance of the evidence, except on
23   such issues as have an extremely disproportionate effect on the
24   length of the defendant’s sentence, which require finding by
25   clear and convincing evidence. United States v. Thomas, 355 F.3d
26   1191, 1202 (9th Cir. 2004).

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 1                                IV. CONCLUSION
 2        In light of the foregoing, the court invites the parties to
 3   submit briefing concerning any perceived remaining issues, and in
 4   preparation for a sentencing hearing, tentatively scheduled for
 5   10:00 a.m., September 14, 2005. Defendant shall submit a princi-
 6   pal brief no later than September 2, 2005; the government’s
 7   response is due September 8, 2005, and the defendant may submit a
 8   reply, if any, on September 12, 2005. The briefs shall not exceed
 9   12 page each.
10        The May 26, 2005 Order is hereby withdrawn; the defendant’s
11   Motion for Clarification and the government’s Proposed Order
12   Regarding Psychological Examination and Moreland’s objections
13   thereto are stricken as moot.
14
          Dated at Seattle, Washington this 2nd day of August, 2005.
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16                                          A
                                            BARBARA JACOBS ROTHSTEIN
17                                          UNITED STATES DISTRICT JUDGE
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